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James Garretson (00:01):
Hello?

Agent Matthew Bryant (00:03):
How's Florida?

James Garretson (00:04):
Oh, I haven't been there yet. I'm over in Dallas [inaudible 00:00:07] I came to Baby Dolls.

Agent Matthew Bryant (00:08):
Sweet, dude. All right, man. Well, I'm just checking in with you.

James Garretson (00:13):
Yeah, I'm going to go probably on the weekend. Is everything good?

Agent Matthew Bryant (00:17):
Everything's good, dude. Hey, just one quick question, do you remember what town Joe was supposedly
a police officer at?

James Garretson (00:26):
Yeah.

Agent Matthew Bryant (00:26):
Do you have any information if it was bullshit or was he there?

James Garretson (00:30):
I think it's Eastvale but it used to be The Colony. It was whatever town The Colony is. Hey, Hey, hang on.
Hang on. Do you remember what town Joe was a cop in? What was it called the county used to be The
Colony?

Speaker 3 (00:44):
It was The Colony. The market was Dallas.

James Garretson (00:50):
Yeah. It's Eastvale, Texas and now it's The Colony. They merged into The Colony.

Agent Matthew Bryant (00:55):
What was... I didn't hear you. What was the name of the town?

James Garretson (01:02):
I think it's Eastvale. E-A-S-T-V-A-L-E.

Agent Matthew Bryant (01:06):


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Do you think he was actually a cop?

James Garretson (01:08):
He actually was.

Agent Matthew Bryant (01:12):
Okay.

James Garretson (01:12):
All right. I seen him in a uniform. So I don't know.

Speaker 3 (01:20):
He was the youngest police chief in Texas.

James Garretson (01:27):
He said he was the youngest police chief in Texas.

Agent Matthew Bryant (01:27):
It's Eastdale. Eastdale, Texas.

James Garretson (01:29):
Eastvale, yeah. It's whatever the town was before it was The Colony.

Agent Matthew Bryant (01:33):
Okay. Sounds good then, bro.

James Garretson (01:37):
Hey, did the case wrap up yet?

Agent Matthew Bryant (01:40):
No, it's probably going to next week, but the government has rested.

James Garretson (01:45):
Oh, okay. I think it's a wrap. I think you did pretty good work.

Agent Matthew Bryant (01:51):
Well, we'll see. Now is what I was trying to tell everybody. Now the hard part for everybody is just try to
ignore all the crap that the followers are saying.

James Garretson (02:01):
Well, I haven't looked online, so I'm good.

Agent Matthew Bryant (02:04):


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Yeah, that's what I do just ignore everybody and go on about your life.

James Garretson (02:09):
Yeah, I'm good. All right, man if you need anything holler. Bye.

Agent Matthew Bryant (02:13):
All right, be safe.




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